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                                                    No. 18-1884C
                                               (Filed: June 28, 2019)
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DEMETRIUS SMALLS, et al.,

                    Plaintiffs,

                   v.

THE UNITED STATES,

                    Defendant.

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                                           ORDER OF DISMISSAL


WILLIAMS, Senior Judge.
        This matter comes before the Court on Defendant's motion to dismiss. For the reasons
stated below, Defendant's motion to dismiss is granted.

                                                    Backgroundl

        Plaintiffs plq q9 are Demetrius Smalls and Yaliya Muquit. Plaintiff pro se Demetrius
Smalls is incarcerated at the Lieber Correctional Institute in Ridgeville, South Carolina, a prison
run by the State ofSouth Carolina. The complaint contains no description of Plaintiff Muquit or
of any claim pertinent to that Plaintiff. In their complaint, Plaintiffs allege fraud, totlious conduct,
and numerous statutory violations by various South Carolina state actors stemming from Plaintiff
Smalls' conviction and incarceration in South Carolina. See Compl lfi 20-21' 31' 37 ' 46' 5\.
Plaintiffs seek $100,000,000 in damages.
                                                      Discussion

       Plaintiffs have the burden of establishing subject matter jurisdiction in this Court. See
Reynolds v. Army & Air Force Exch. Serv.,846F.2d746,748 (Fed. Cir. 1988)' The Court must
dismiss the action if it finds subject matter j urisdiction to be lacking. Adair v. United States,497
F.3d1244,1251 (Fed. Cir.2007). When ruling on a motion to dismiss pursuant to Rule i2(bxl),

           'fhis background is derived from Plaintiffs' Complaint.


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the Court assumes all well-pleaded factual allegations as true and construes the complaint in a
mamer most lavorable to Plaintiffs. Pennineton Seed. Inc. v. Produce Exch. No. 299,457 F.3d
1334, 1338 (Fed. Cir. 2006) (citing Elecs. For Imasing. Inc. v. Co)'Ie,340 F.3d 1344, 1349 (Fed.
Cir. 2003)).

        The filings of p1q se litigants are held to "'less stringent standards than formal pleadings
drafted by lawyers."' Naskar v. United States, 82 Fed. Cl. 319, 320 (2008) (quoting Haines v.
Kemer,404 U.S. 519, 520 (19'72)). However, gq se plaintiffs still bear the burden of establishing
the Court's jurisdiction and must do so by a preponderance ofthe evidence. See Reynolds, 846
F.2dat748; Tindle v. United States, 56 Fed. Cl.337,341 (2003).

       The Tucker Act provides that this Court:

       shall have jurisdiction to renderjudgment upon any claim against the United States
       founded either upon the Constitution, or any Act of Congress or any regulation of
       an executive department, or upon any express or implied contract with the United
       States, or for liquidated or unliquidated damages in cases not sounding in tort.

28 U.s.c. $ 1ae1(a)(1) (2012).

       The Tucker Act is   ajurisdictional statute, not money-mandating. United States v. Testan,
424 tJ.S. 392,398 (1976). To establish jurisdiction, Plaintiffs must additionally seek money
damages under a source of substantive federal law. "[T]he claimant must demonstrate that the
source of substantive law he relies upon'can fairly be interpreted as mandating compensation by
the Federal Govemment for the damages sustained."' United States v. Mitchell,463 U.5.206,
216-17 (1983) (quoting Testan, 424U.5. at 400); see Jan's Helicopter Serv.. Inc. v. Fed. Aviation
Admin.,525 F.3d 1299,1306 (Fed. Cir.2008) C'[A] plaintiff must identifu a separate source of
substantive law that creates the right to money damages." (intemal citation and quotation marks
omitted)).

       Plaintiffs name as defendants Roger M. Young Sr., fuchard M. Gergel, Bruce Howe
Hendricks, R. Markley Dennis Jr., Linda Schwartz Lombard, James B. Gosnell, Wallace Dixon,
Jaqueline Austin, Mary Gordon Baker, Julie J. Armstrong, Stephanie McDonald, Krisi Lea
Hanington, J.C. Nicholson, Robin Stillwell, Daniel E. Shearouse, Donald Beatty, Jean Hoefer
Toal, Sara Samsa, Margaret Seymour, William Traxler, Scott Harris, John Roberts, and Jennifer
Rice. The only proper defendant in this Court is the United States. United States v. Sherwood,
312U.S.584,588(1941); Berdickv.UnitedSrates,612F.2d533,536(Ct.Cl. 1979). Tothe
 extent that Plaintiffs allege claims against parties other than the United States, this Court lacks
jurisdiction to entertain those claims.

        Plaintiffs allege violations of 18 U.S.C. $$ 152, 1201(a), 1203,1346, and 3771(a}'-(f), but
this Court lacks jurisdiction over criminal matters. Joshua v. United States, 17 F.3d 378,379-80
(Fed. Cir. 1994). To the extent that Plaintiff Smalls contests his criminal conviction, this Court
lacks jurisdiction over challenges to "indictments, arrests, prosecutions. convictions,
imprisonment, or parole . . . ," and does not have jurisdiction to review decisions rendered by state
courts. D.C. Court of Appeals v. Feldman, 460 U.S. 462,482 ( 1983); Schweitzer v. United States,
82Fed.CI.592,596 (2008); Landersv.UnitedStates,39Fed. Cl..297,301 (1997). Nordoesthis
Court have jurisdiction overclaims sounding in tort. Rick's Mushroom Serv..lnc. v. United States,
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521   .3d 133 8, 1343 (Fed. Cir. 2008). This Court does not have jurisdiction to entertain Plaintiffs'
      F
claim ofunjust enrichment as such a clairn is based on an implied-in-law contract theory, which
this Court lacks authority to enter[ain. See Lumbermens Mut. Cas. Co. v. United States, 654 F.3d
1305, 1316-17 (Fed. Cir. 2011).

        Although Plaintiffs invoke 15 U.S.C. $$ 1, 4, and 15, 28 U.S.C. $$ 1332 and 1333,42
U.S.C. $ 1988, 50 U.S.C. $$ 20 and 1705, and the Universal Declaration of Human Rights as
bases for this Court's jurisdiction, none of these authorities grant this Coun jurisdiction over
Plaintiffs' claims.

                                             Conclusion

          Defendant's motion to dismiss is GRANTED. The Clerk is directed to dismiss this action.
